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INITIAL APPEARANCE MINUTES:

Time set:       z:3u D.m.                           Date;                  5/18/2018
Start Time:                  V
                                                    Presiding Judge:       Douglas E. Miller. USMJ
End Time:                    r>t^                   Courtroom Deputy:               g~        o\pp/->n
                                                    Reporter:              FTR
Split Time      (   )                               U.S. Attorney:         Randv Stoker
                                                    Defense Counsel:                     !
                                                    (   ) Retained (   ) Court appointed (   )AFPD
                                                    Interpreter:
Case Number: 2:18mi251
USA V. Dashawn Webster
                                                                        P^O cxpp-i • 0
(X) Deft. Present (x) custody ( ) not in custody
(X) Initial Appearance ( ) Indictment ( ) Probation Violation Petition ( ) Supervised Release Petition
    ( ) Criminal Information ( ) Rule 5 arrest ( ) Rule 32 arrest (x) Criminal Complaint
(X) Deft, advised of rights, charges and right to counsel
(v^Counsel desired ( ) Defendant to retain:
( ) Defendant's motion to substitute counsel
( ) Order to substitute counsel executed and filed in open court
(-"^l^inancial Affidavit filed in open Court
(Court (»x)Directed ( ) Denied appointment of counsel
( ) Court directed defendant to reimburse govt. at rate of |            per month. Payments to begin and
    continue each month thereafter until paid in full.
( ) Defendant waived ( ) Removal ( ) Preliminary hearing (In this District only)
( ) Defendant executed Waiver of Removal Hearing ( ) Waiver of Identity Hearing (In this District only)
( ) Waiver ofDetention Hearing (In this District only)
( ) Commitment to Another District entered and filed in open court
(-0           Preliminary ( ) Removal Hearing set for            1^                at A^              before
                          rvy            U.S. Magistrate Judge in /ACv r                      '   ~            .
( ) Preliminary Hearing                     ( ) Held ( ) Waived. ( ) Defenaant stipulated to probable cause
( ) Court finds probable cause ( ) Defendant held for Grand Jury ( ) Defendant remanded to custody of
     U.S. Marshal for removal to charging district
(w<r Government motion for Detention
( ) Government motion to withdraw motion for d^(^ention and set bond ( ) Granted                ( ) Denied
(✓f Detention Hearing scheduled for                ll\ _ at   ^            before       no                 .
( ) Detention Hearing ( )Held( )Wdvedin
(Temporary Detention Order entered and filed ( ) Detention Ordered Pending Trial
( ) Bond set at $
( ) Special Conditions of Release: (See Page 2)
(    Deft, remanded to custody of U. S. Marshal
(    Warrant returned executed and filed in open court
     Defendant is directed to appear on                      at                           for
     ( ) Arraigimient ( ) SRVH ( ) PVH ( ) Bench
      Trial
      (   ) Norfolk ( ) Newport News
